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              8                      IN THE UNITED STATES BANKRUPTCY COURT
              9                          IN AND FOR THE DISTRICT OF ARIZONA
             10

             11   In Re:                                        In Chapter 7 Proceedings
             12   VALLEY HOSPICE OF ARIZONA, INC                Case No. 2:21-BK-08392-PS
             13
                                          Debtor.
             14

             15

             16                                MOTION TO APPROVE COMPROMISE

             17                The       trustee,   James   Cross    (“Trustee”),    by   and      through

             18   undersigned counsel, hereby moves this Court for the entry of an

             19   order approving a compromise with Marcus John Lewis (“Lewis”) and

             20   MJL      Financial       Group,    LLC    (“MJL”      and   together      with     Lewis

             21   collectively,          the     “Lewis    Parties”).         The   Trustee’s       motion

             22   (“Motion”) is more fully set forth in and is supported by the

             23   following Memorandum Of Points And Authorities.

             24                Dated February 2, 2023
                                                     TERRY A. DAKE, LTD.
             25
                                                             By /s/TD009656
             26                                                 Terry A. Dake
                                                                P.O. Box 26945
             27                                                 Phoenix, AZ 85068-6945
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2                 Prior to the bankruptcy filing, certain real property

 3   commonly      known    as   3539    E.    Presidio      Circle,    Mesa,    AZ    (the

 4   “Property”) was titled in the name of MJL.                   The Property was then

 5   transferred to Valley Hospice of Arizona, Inc. (“Debtor”) so that

 6   the Debtor could obtain financing using the Property as collateral.

 7   After the loan was obtained, an interest in the Property was then

 8   transferred by the Debtor to Lewis.                Lewis then transferred that

 9   interest to MJL.        The trustee contends that the transfers to Lewis

10   and MJL are avoidable.

11                 On or about November 12, 2021 (“Petition Date”), Debtor

12   filed a bankruptcy petition commencing the instant bankruptcy case

13   (“Bankruptcy     Case”)     under     Chapter     11    of   the   Bankruptcy     Code

14   (“Code”).       On or about January 20, 2022, after an evidentiary

15   hearing, the Court entered an Order converting Debtor’s Ch. 11 case

16   to a Ch. 7 Case [Dkt. No. 97].                 On or about March 4, 2022, the

17   Court entered an Order permitting the sale of the Property (“Sale

18   Order”)[Dkt. No. 159; see also Notice at Dkt. No. 177].                      Pursuant

19   to the Sale Order, on or about June 17, 2022, the Trustee sold the

20   Property and and filed his Report of Sale [Dkt. No. 180] advising

21   that    the    bankruptcy    estate      would    receive     $539,613.32    in    net

22   proceeds from the Sale of the Property (“Sale Proceeds”).                        On or

23   about    October      25,   2022,   the       Trustee   commenced    an     adversary

24   proceeding (see generally Adv. No. 2:22-ap-00243)(the “Adversary

25   Proceeding”) naming the Lewis Parties as defendants and seeking to

26   avoid the transfer of the interest in the Property to Lewis and to

27   obtain an order determining that Lewis and MJL had no interest in

28   the sale proceeds of the Property.               On or about December 15, 2022,

                                               2
 1   the Trustee obtained a judgment in the Adversary Proceeding by

 2   default thereby avoiding the transfers and determining that neither

 3   of the Lewis Parties have a claim to the sale proceeds of the

 4   Property.

 5               The Lewis Parties contend that there are grounds to set

 6   aside the default judgment and that the Lewis Parties are entitled

 7   to half of the Sale Proceeds.                  The Trustee disputes those claims.

 8   However, to avoid further litigation, and the delay and expense

 9   associated with litigation, the Trustee has agreed to pay the Lewis

10   Parties     the     sum        of     thirty       thousand    dollars      ($30,000.00)

11   (“Settlement Sum”) in full satisfaction of any and all claims of

12   any kind or nature that the Lewis Parties may have, if any, against

13   the   Property,     against         the    sale    proceeds   of   the     Property,    and

14   against the bankruptcy estate, as well as any claims that they may

15   have to set aside the judgment in the Adversary Proceeding.                             The

16   bankruptcy estate shall assert no further claims of any kind or

17   nature to the Settlement Sum.

18               Payment       of    the       Settlement   Sum    shall   be    made   by   the

19   bankruptcy estate not later than fourteen (14) days after the entry

20   of an Order approving this settlement.                   The check shall be payable

21   jointly to Lewis and MJL and shall be mailed to counsel for Lewis

22   and MJL, whose name and address appears at the end of this motion.

23               In light of the amounts at issue, and the costs and

24   uncertainties of additional litigation, the Trustee believes that

25   the proposed compromise is reasonable and in the best interest of

26   the estate.       The proposed compromise avoids the delay, expense and

27   uncertainty of additional litigation and provides a return to the

28   estate.

                                                    3
 1               Compromises in bankruptcy are generally favored because
 2   “they provide for an often needed and efficient resolution of the
 3
     bankruptcy case.” Tindall v. Mavrode (In re Mavrode), 205 B.R. 716,
 4
     719 (Bankr. D. N.J. 1997). The Ninth Circuit Court of Appeals has
 5
     long recognized that the bankruptcy court has “great latitude” in
 6
     approving compromises.           See, e.g., Woodson v. Fireman’s Fund Ins.
 7

 8   Co. (In re Woodson), 839 F.2d 610, 620 (9th Cir. 1988); see also In

 9   re Daley’s Dump Truck Svcs, Inc., 108 F.3d. 213, 215 (9th Cir.

10   1997); Martin v. Kane (In re A & C Properties), 784 F.2d 1377,
11   1380-81    (9th   Cir.       1986)    (internal       quotations       omitted),    cert.
12
     denied, 479 U.S. 854 (1986).
13
                 In approving a settlement agreement, the Court need not
14
     conduct either an exhaustive investigation into the validity, or a
15
     mini-trial on the merits, of the claims sought to be compromised.
16

17   United States v. Alaska National Bank (In re Walsh Constr., Inc.),

18   669 F.2d 1325, 1328 (9th Cir. 1982); In re Schmidt, 215 B.R. 417,
19   423 (B.A.P. 9th Cir. 1997) (“When assessing a compromise, courts
20
     need not rule upon disputed facts and questions of law, but rather
21
     only    canvass   the       issues.   A    mini   trial   on     the    merits     is   not
22
     required.”) (citations omitted). Rather, it is sufficient that the
23
     Court find that the settlement was negotiated in good faith and is
24

25   reasonable, fair, and equitable. A & C Properties, 784 F.2d at

26   1381.     Further,      a     court       generally     should     give deference to

27   a trustee’s exercise of business judgment. In re Mickey Thompson
28

                                                 4
 1   Entm't Group, Inc., 292 B.R. 415, 420 (9th Cir. BAP 2003).
 2                The Ninth Circuit Court of Appeals has identified the
 3
     following     factors    for    consideration         in        determining        whether     a
 4
     proposed settlement agreement is reasonable, fair, and equitable:
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          (a) the probability of success in the litigation;
 6
          (b) the difficulties, if any, to be encountered in the matter
 7

 8   of collection;

 9        (c)     the   complexity     of    the        litigation          involved,     and     the

10   expense, inconvenience, and delay necessarily attending it; and
11        (d)     the   paramount    interest       of    the       creditors    and     a    proper
12
     deference to their reasonable views in the premises.
13
          Id.       Consideration of these factors does not require the
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     Court   to   decide     the   questions       of    law    and    fact     raised       in   the
15
     controversies sought to be settled, or to determine whether the
16

17   settlement presented is the best one that could possibly have been

18   achieved.      Rather,    the   Court     need       only      canvass     the     issues     to
19   determine whether the settlement falls “below the lowest point in
20
     the zone of reasonableness.” Newman v. Stein, 464 F.2d 689, 698 (2d
21
     Cir. 1972). Finally, although the Court should give deference to
22
     the reasonable views of creditors, objections do not rule.                               In re
23
     Lee Way Holding Co., 120 B.R. 881, 891 (Bankr. S.D. Ohio 1990).
24

25   Here, the Settlement meets the factors for approval of a compromise

26   under Fed. R. Bankr. P. 9019.

27                The   Trustee     believes       that,       in     the     exercise       of   his
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                                               5
 1   business judgment, this settlement satisfies these criteria.                       A
 2   contest of the default judgment will cost the estate legal fees and
 3
     expenses and will impose additional delay in the administration of
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     the estate.        Further, if the default judgment were to be set aside,
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     then the estate would have to endure further litigation, expense
 6
     and delay over the merits of the avoidance claims. This settlement
 7

 8   avoids     that     delay,        expense   and   uncertainty.    Accordingly,   the

 9   Trustee requests that this Court approve the proposed settlement

10   with the Lewis Parties as set forth herein.
11                 WHEREFORE, the Trustee prays for the entry of an Order
12
     approving a settlement as set forth herein and for whatever further
13
     and other relief the Court deems proper.
14
                   DATED February 2, 2023
15
                                                 TERRY A. DAKE, LTD.
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                                                 By /s/TD009656
17                                                  Terry A. Dake
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     APPROVED AND AGREED:
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